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             EXHIBIT A

Redacted Version
  of Document
  Sought to Be
     Sealed
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Contains Material Designated “Highly Confidential – Attorneys’ Eyes Only” by Plaintiffs


                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                              §
                                              §
                                              §
CHASOM BROWN, WILLIAM BYATT,                  §
JEREMY DAVIS, CHRISTOPHER                     §
CASTILLO, and MONIQUE TRUJILLO,               §
individually and on behalf of all similarly   §
situated,                                     §
                                              §   Case No. 4:20-cv-03664-YGR-SVK
   Plaintiffs,                                §
                 v.                           §
                                              §
GOOGLE LLC,                                   §
                                              §
   Defendant.                                 §
                                              §
                                              §
                                              §
                                              §




                       EXPERT REPORT OF JONATHAN E. HOCHMAN




                                      April 15, 2022
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174.     Google provided some of Plaintiffs’ DBL          data containing user profile information.

These data were generated in Chrome Incognito mode while not signed-into Google. For example,

“                                 ” contains user profile keyed to Plaintiff Chasom Brown’s

Biscotti ID that Google generated from Brown’s browsing activities on non-Google websites in

Incognito mode while not signed-into any Google account.71 This Google file (with Google

collecting and then through the Special Master process providing                        of data from

Incognito browsing activities at the end of February and beginning of March 2022) contains a

myriad of personal information and private browsing activities, including

     




71
  From Second Iterative Search of the Special Master process, “2022-03-14 Brown v. Google - DBL
– AEO” production for “Biscotti Extracted from IDE”. The Biscotti ID value “                   ” is a
hexadecimal value converted from Biscotti ID “                       ”. Decimal to Hexadecimal value
conversion can be done using https://www.rapidtables.com/convert/number/decimal-to-hex.html for
example (Last accessed on April 11, 2022). Additional support information can be found in Appendix
H.1.



                                                                                                   68
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00840745121 contains Dr. Dai’s Incognito data associated with Biscotti ID

in the                   log. Row 208 in GOOG-BRWN-00840745, corresponding to a single entry

in the log, contains 20 page of data (See Exhibit C), among which is a “

                      ". This indicates that PPID (which identifies a signed-in user on non-Google

websites) is joinable with the same user’s private browsing information associated with regular

Biscotti IDs in the same way Analytics User IDs are. As of April 11, 2022, Google has not

produced data from ads logs containing PPID related information from the Second Iterative Search

and subsequent searches. Google has also not produced full data from logs containing

“maybe_chrome_incognito”, nor any data from                logs containing “is_chrome_incognito”

and “is_chrome_non_incognito” fields. I reserve my rights to supplement this report should

Google produce the requested data later.

248.      Had Google preserved users’ signed-in IDs on non-Google websites, which uniquely

identify a user, as well as associated logs, it would have been possible to locate additional records

of user’s signed-out private browsing activities. However, Google did not preserve this

information.

249.      In addition to storing IDs from different ID spaces in the same log, which allows data to

be joined, Google also includes IDs from different ID spaces, such as “authenticated” IDs,

“unauthenticated” IDs and signed-in IDs on non-Google websites, within the same URL link.

Through the Special Master process, I have observed that embedded IDs within URL links, which

Google receives along with intercepted private browsing data, have been decrypted.122 This reveals



121
  GOOG-BRWN-00840745 was produced as a part of the First Interactive Search on Jan. 31, 2022 in
PROD71 containing data in            logs.
122
      2022-03-14 Brown v. Google - Dycrypted URLs - AEO.xlsx



                                                                                                 107
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                   EXPERT REPORT OF JONATHAN E. HOCHMAN

                                     APRIL 15, 2022




                                       EXHIBIT C

                            GOOG-BRWN-00840745 Row 208




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Contains Material Designated “Highly Confidential – Attorneys’ Eyes Only” by Plaintiffs



                        IN THE UNITED STATES DISTRICT COURT
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                                              §
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CHASOM BROWN, WILLIAM BYATT,                  §
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individually and on behalf of all similarly   §
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                                              §   Case No. 4:20-cv-03664-YGR-SVK
   Plaintiffs,                                §
                 v.                           §
                                              §
GOOGLE LLC,                                   §
                                              §
   Defendant.                                 §
                                              §
                                              §
                                              §
                                              §




      REBUTTAL TO REPORT OF GEORGIOS ZERVAS AND SUPPLEMENTAL
                  REPORT OF JONATHAN E. HOCHMAN




                                       June 7, 2022
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37.    As an example, I will discuss three Incognito events in the produced                     that

overlap in time with events in search and display ads logs and show that these events can be joined

with a user’s device and/or the user’s GAIA ID.

38.    The produced            log events included in Appendix G of this report show two entries

on April 14, 2022, containing search queries               ” and “           .” Both events have

“is_chrome_incognito” marked as “TRUE” (correctly indicating Incognito mode browsing),

Zwieback ID “                       ”, IP address “               ” and user agent “



                                              ”. These two events in Google’s logs were generated

by browsing with Dr. Dai’s device. The produced             log data also shows one entry on April

13, 2022, containing search query “           ”. This event has “is_chrome_incognito” marked as

“TRUE” (correctly indicating Incognito mode browsing), Zwieback ID “                           ”, IP

address “               ” and user agent “

                                                                                             ”. This

event in Google’s logs was generated by browsing with Plaintiff Chasom Brown’s device.

39.    Example 1 associated with search query “           ”: After searching “       ” in Incognito

mode, Google search ads associated with the same Zwieback ID, IP address, user agent and search

query appear in the                log at the same time. A related event in a

with the same time, Zwieback ID, search query, IP address and user agent shows

“maybe_chrome_incognito” to be “TRUE.” A subsequent search ad click appears in the

                      a few seconds later and is associated with the same Zwieback ID, IP address,

user agent and ad URL. This search ad click is first transmitted to Google, where Google appends

a click ID (gclid) identifying the ad click (and search query) to the landing page URL and redirects




                                                                                                 17
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appear in Google’s                                                     logs at the same time. The entry in

Google’s                              log further confirms these log entries as Incognito traffic with

maybe_chrome_incognito set to “TRUE” along with other identifying information. A subsequent

search ad click appears in Google’s                                a few seconds later and is associated

with the same Zwieback ID, IP address, user agent and ad URL. This Google search ad click is

first transmitted to Google, where Google appends a click ID (gclid) identifying the ad click (and

search query) to the landing page URL and redirects the user to the non-Google website. The

redirect                                               URL                                                     is



                                                                      . Once the user is on this non-

Google website, Google intercepts private communications with at least Google Analytics and

conversion tracking beacons as shown in the screenshot below. Subsequent Incognito browsing

activities on non-Google websites with Google tracking beacons appear in Google’s display ads

logs,    including                            and                             .       In     addition,

                      associated with the same Biscotti ID                                               ” with

maybe_chrome_incognito”            equal     to     “TRUE”       contains         a        PPID-mapped-Biscotti

“                     ” along with other identifying information. This hex value is equal to

“                           ” 19 and corresponds to Dr. Dai’s signed-in PPID on marca.com 20, thus

further identifying these Incognito events as her browsing activities. Additionally, from Google’s

Analytics log “                                                                                          ” 21, Dr



19
   Hex to decimal value conversion can be done here https://www.rapidtables.com/convert/number/decimal-to-
hex html
20
   Google provided PPID to PPID-mapped-Biscotti mapping in the Second Iterative Search “2022-03-04 Brown
Second Iterative Searches - PPID.xlsx”
21
   From “2022-04-30 Brown v. Google - Analytics – AEO”


                                                                                                              20
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45.      Not only can signed-out private browsing information collected and stored by Google be

linked to a user’s GAIA ID, it can also be linked to a user’s device UMA ID, which uniquely

identifies a Chrome instance on a device and also includes additional information regarding the

use of Chrome Incognito mode. For example, the sequence of UMA user actions associated with

Dr. Dai’s UMA client_2 ID in the table below can be correlated to the above Incognito browsing

records stored by Google. 26 UMA data further confirms that a new Incognito window was opened

and that the above browsing activities associated with search queries “                      ” and “            ,” as

well as subsequent browsing activities on non-Google websites, were generated in Incognito mode.

Using UMA, Google also collects and stores a wealth of information about users and their devices,

including gender and birth year, IP address, user agent, user location, UMA enabled date, as well

as a staggering amount of hardware information (e.g., CPU architecture, system RAM, GPU

vendor/device/driver version, screen width and height, screen scale factor, among others). 27 Such

information is highly identifying even for two devices sharing a common IP address.




26
   Data from production “2022-04-22 Brown v. Google - UMA – AEO”, file “2022-04-14.txt”. This document
contains coded user actions which the Plaintiffs decoded. The decoded file is included as Exhibit A to this report.
UMA user actions and timestamps associated with ads data shown is included in Appendix H, “Apr 14” tab.
27
   GOOG-BRWN-00032906 at -907 explains that UMA stores “system_profile: The system_profile is a proto
containing information about the client’s browser and system configuration. This has a large set of fields and
includes information such as application version, channel, operating system, hardware (such as memory), stability
data, plugins installed, field trials (Finch experiments) running, and much more.”


                                                                                                                      27
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                                             .

67.      The same fingerprinting techniques can be used to identify class members, including for

purposes of verifying a person’s claim that he or she used Incognito. GOOG-CABR-04308776 at

-777 lists a few fingerprinting parameters “IP address, Browser / user-agent / platform, Installed

fonts, Screen resolution, Location & time zone & language, Whether or not cookies are enabled,

Whether or not Do Not Track is enabled.” These fingerprinting parameters are found in Google’s

analytics and ads logs. For example, on April 30, 2022, Google produced data in several ads logs. 36

As an example, “                                                              ” is associated with Plaintiff

                     Biscotti ID                                 in an Incognito browsing session. 37 Row 2

shows an exemplary event entry containing time stamp, IP address, user agent, DisplayLang

(“ ”),                 ("                    "), HeaderOrder (indicating the order in which HTTP header

information       appear 38),      referer       URL                                             redirect      URL

                                   , and HTTPHeader. The HTTPHeader itself contains a myriad of

information shown below, including “sec-ch-ua”, “sec-ch-ua-platform”, “accept”, “accept-

language”, “Cookie” and “Accept-Encoding”, among other fingerprinting information. Since this

is from an Incognito session, the “X-Google-GFE-Original-X-Client-Data” field is empty.

Additional fingerprinting information are contained in X-Google-GFE-Frontline-Info, including




36
   2022-04-30 Brown v. Google -            Ads – AEO
37
   I explained in Appendix I of my opening report that Biscotti ID                           belongs to Mr. Brown’s
Incognito session and the “maybe_chrome_incognito” bit in three display logs shows that the browsing session is
Incognito.
38
   Different browsers send different header information and in different order. https://chris124567.github.io/2021-
06-15-websites-lying-user-agent/ (Last accessed on May 30, 2022).


                                                                                                                  43
